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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


      UNITED STATES OF AMERICA,                  )
                                                 )
      v.                                         )       No. 21-cr-123 (PLF)
                                                 )
      VITALI GOSSJANKOWSKI,                      )
                                                 )
             Defendant                           )
      ___________________________________________)

                                   Defendant’s Exhibit List


Exhibit                   Description                      Witness             Objection   Admitted
 No.:
 1.       Image of Vipertek VTS-979 and “Police”
          916
 2.       Photo of Mr. GossJankowski with Device
 3.       Photo of Device
 4.       Photos of Chiseled Front Characteristic
 5.       Photo of Mr. GossJankowski with Device
 6.       Photos of Assembly Screw Holes
          Characteristic
 7.       Photo of Mr. GossJankowski with Device
 8.       Photo of Red LED Characteristic
 9.       Photo of Mr. GossJankowski with Device
10.       Photo of Device
11.       Photos of Shoulder Grip Characteristic
12.       Photo of Taser
13.       Output Charge Results
14.       Nerve Stimulator Exemplar Images
15.       Photo of Rally at Ellipse from Mr.
          GossJankowski’s Phone
16.       Photo of Rally at Ellipse from Mr.
          GossJankowski’s Phone
17.       Photo of President Trump at Rally at Ellipse
          from Mr. GossJankowski’s Phone
18.       Photo of Rudolph Giuliani and John Eastman
          at Rally at Ellipse from Mr. GossJankowski’s
          Phone
